 

CB.S€ 1218-CI’-00315-.]EJ DOCUm€n'[ 13 Fil€d 09/21€£_? € 1 Of 1
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HARR|SBURG, PA

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Per "/W

Depdty C|erk l

lN THE UN|TED STATES DlSTRlCT COURT
FOR THE MlDDLE DlSTRlCT OF PENNSYLVAN|A

UN|TED STATES OF A|\/|ER|CA 1 Crimina| No. 1:18-CR-O315

V.

JORGE Luls ROSA-HERNANDEZ,

 

 

Defendant
P L E A
AND Novv, this :"2[ day of iep /'» ,the within named
defendant, hereby enters a plea of N»’ )” é,‘iw ,/)(7 ~ to the Within indictment.

 

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U,e’fendant's'$ignature)

 

 

